Case 9:20-md-02924-RLR Document 7298 Entered on FLSD Docket 05/23/2024 Page 1 of 14



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

    IN RE: ZANTAC (RANITIDINE)                                                  MDL NO. 2924
    PRODUCTS LIABILITY LITIGATION                                                20-MD-2924

                                                              JUDGE ROBIN L. ROSENBERG
    ________________________________/                         MAGISTRATE JUDGE BRUCE
                                                              E. REINHART



    THIS DOCUMENT RELATES TO:

    Jorge Contreras v. Boehringer Ingelheim Pharmaceuticals, Inc., et al., 9:24-cv-80462


     REMOVING DEFENDANTS’ OPPOSITION TO PLAINTIFF JORGE CONTRERAS’S
                          MOTION TO REMAND



    DATED: May 23, 2024
Case 9:20-md-02924-RLR Document 7298 Entered on FLSD Docket 05/23/2024 Page 2 of 14


                                                       TABLE OF CONTENTS

                                                                                                                                       Page

    INTRODUCTION ......................................................................................................................... 1

    FACTUAL BACKGROUND ........................................................................................................ 1

    LEGAL STANDARD .................................................................................................................... 3

    ARGUMENT ................................................................................................................................. 3

              I.         THE COURT SHOULD DISREGARD KAISER’S CITIZENSHIP BECAUSE
                         IT IS FRAUDULENTLY JOINED ....................................................................... 3

              II.        NO FEES AND COSTS ARE WARRANTED ..................................................... 7

    CONCLUSION .............................................................................................................................. 8




                                                                            i
Case 9:20-md-02924-RLR Document 7298 Entered on FLSD Docket 05/23/2024 Page 3 of 14




                                                   TABLE OF AUTHORITIES

                                                                                                                                  Page(s)

    Cases

    Brown v. Allstate Ins. Co.,
       17 F. Supp. 2d 1134 (S.D. Cal. 1998) ........................................................................................5

    De La Flor v. Ritz-Carlton Hotel Co., L.L.C,
       No. 12-cv-23689, 2013 WL 148401 (S.D. Fla. Jan. 14, 2013) ..................................................3

    DiCola v. White Bros. Performance Prods., Inc.,
       69 Cal. Rptr. 3d 888 (Ct. App. 2008) ........................................................................................3

    Gallagher v. Boehringer Ingelheim Pharms., Inc.,
       No. 22-CV-10216 (LJL), 2023 WL 402191 (S.D.N.Y. Jan. 25, 2023) .....................................4

    Garcia v. Joseph Vince Co.,
       148 Cal. Rptr. 843 (Ct. App. 1978)............................................................................................3

    Illoominate Media, Inc. v. CAIR Fla., Inc.,
        841 F. App'x 132 (11th Cir. 2020) .............................................................................................3

    Jackson v. Bank of Am.,
       NA, 578 F. App’x 856 (11th Cir. 2014) ....................................................................................3

    Marshall v. Cargill, Inc.,
      No. C 08-02422 WHA, 2008 WL 2543210 (N.D. Cal. June 20, 2008).....................................5

    Martin v. Franklin Capital Corp.,
      546 U.S. 132 (2005) ...................................................................................................................7

    Ostrowski v. Am. Tire Distributors, Inc.,
       No. 617CV598ORL31KRS, 2017 WL 2115984 (M.D. Fla. May 16, 2017).............................4

    Poulos v. Naas Foods, Inc.,
       959 F.2d 69 (7th Cir. 1992) .......................................................................................................3

    Reith v. Teva Pharms. USA, Inc.,
        No. CV 18-3987, 2019 WL 1382624 (E.D. Pa. Mar. 27, 2019) ................................................4

    Sanchez v. Stryker Corp.,
       No. 2:10-CV-08832 ODW, 2012 WL 1570569 (C.D. Cal. May 2, 2012) ................................4

    Shannon v. Albertelli Firm,
       P.C., 610 F. App’x 866 (11th Cir. 2015) ...............................................................................3, 5




                                                                         ii
Case 9:20-md-02924-RLR Document 7298 Entered on FLSD Docket 05/23/2024 Page 4 of 14




    Soule v. Gen. Motors Corp.,
       882 P.2d 298 (Cal. 1994) ...........................................................................................................3

    Timmons v. Linvatec Corp.,
       263 F.R.D. 582 (C.D. Cal. 2010) ...............................................................................................4

    Vieira v. Citigroup, Inc.,
        No. 1:12-CV-1636-TWT, 2012 WL 6194350 (N.D. Ga. Dec. 12, 2012)..................................5

    Vieira v. Mentor Worldwide, LLC,
        392 F. Supp. 3d 1117 (C.D. Cal. 2019 .......................................................................................4

    White v. Minnesota Life Ins. Co.,
       No. 610-cv-1661, 2010 WL 11627321 (M.D. Fla. Dec. 8, 2010) .............................................3

    Statutes

    28 U.S.C. § 1447(c) .........................................................................................................................7




                                                                           iii
Case 9:20-md-02924-RLR Document 7298 Entered on FLSD Docket 05/23/2024 Page 5 of 14



           Defendants Boehringer Ingelheim Pharmaceuticals, Inc.; GlaxoSmithKline LLC; and

    Pfizer Inc. (collectively, the “Removing Defendants”), by and through undersigned counsel,

    submit this Opposition to Plaintiff’s Motion to Remand.

                                            INTRODUCTION

           Plaintiff’s Motion fails to overcome his sworn statements in this case establishing that

    Kaiser Permanente International (“Kaiser”), the only non-diverse defendant, is fraudulently

    joined. As part of the discovery process, Plaintiff was required to submit a Plaintiff Profile Form

    (“PPF”) listing each retailer from whom he purchased Zantac or ranitidine. Plaintiff did not

    include Kaiser in his PPF but did list retailers other than Kaiser. Even today, four months after

    removal, Plaintiff has not amended, or offered to amend, his PPF to state that he purchased Zantac

    or ranitidine from Kaiser. Nor has he produced any medical or purchase records, or affidavits

    stating this fact. Nor has Plaintiff provided an authorization for Kaiser records. Because Plaintiff’s

    own discovery submissions do not support his claim against Kaiser, he cannot possibly recover

    against Kaiser. As such, Kaiser is fraudulently joined and its citizenship should be ignored.

    Plaintiff’s Motion to Remand should be denied.

                                       FACTUAL BACKGROUND

           On August 4, 2023, this case was added to the In re Ranitidine Judicial Council

    Coordination Proceedings (“JCCP”) 5150 in California. All plaintiffs in the JCCP are required to

    complete and file the court-approved Short Form Complaint (“SFC”) and a verified PPF. See Ex.

    1, Pre-Trial Order No. 12, In re Ranitidine, JCCP 5150 (Sept. 21, 2023) at ¶ 4(a)-(b). In his SFC,

    Plaintiff alleges that his use of over-the-counter Zantac (ranitidine) caused him to develop prostate

    cancer. See Ex. 2, SFC at 4. He named as defendants (1) the Removing Defendants that

    manufactured and/or marketed Zantac, and (2) Kaiser, a healthcare company that among other

    things, operates pharmacies. Id. at 3. Kaiser is the only non-diverse defendant. Although Plaintiff

    included Kaiser as a defendant, the SFC does not assert any factual allegation against Kaiser. Id.
           The PPF requires each plaintiff to provide basic information about their claims, including

    by listing each retail location from which the plaintiff purchased Zantac or ranitidine and every
Case 9:20-md-02924-RLR Document 7298 Entered on FLSD Docket 05/23/2024 Page 6 of 14



    pharmacy where he filled a Zantac or ranitidine prescription. See ECF No. 7294-3, PPF at 6-7.

    By signing the PPF “under penalty of perjury,” as required, plaintiffs certify that they “have

    carefully reviewed the final copy of this Plaintiff Profile Form dated below, and verif[y] that all

    of the information provided is true and correct to the best of [their] knowledge, information and

    belief.” Id. at 23.

            Pursuant to these JCCP orders, Plaintiff completed and signed “under penalty of perjury”

    a verified PPF. When asked to provide the “[n]ame and address of each retailer or other place of

    purchase (e.g., pharmacy(ies)/stores/online sellers) of over-the-counter Zantac/ranitidine,”

    Plaintiff listed a “CVS” store in Colton, California but did not list any Kaiser location. See id. at

    6-7.

            On January 2, 2024, the Removing Defendants timely removed this action. See Notice of

    Removal, Jorge Contreras v. Boehringer Ingelheim International GMBH, No. 3:24-cv-00019-

    TLT (N.D. Cal.) (“Contreras N.D. Cal.”), ECF No. 1. On January 4, 2024, the Removing

    Defendants tagged this case for transfer to the Zantac MDL, see Notice of Potential Tag-Along,

    In re Zantac (Ranitidine) Prods. Liab. Litig., MDL No. 2924 (J.P.M.L. Jan. 4, 2024) (“JPML No.

    2924”) ECF No. 1372, and moved to stay the proceedings pending a decision on transfer by the

    Judicial Panel on Multidistrict Litigation (“JPML”). See Mot. to Stay, Contreras N.D. Cal. ECF

    No. 9. On January 10, 2024, Plaintiff filed a Motion to Remand. See Mot. to Remand, Contreras

    N.D. Cal. ECF No. 24.

            On February 1, 2024, the JPML entered a conditional transfer order for this case.

    Contreras N.D. Cal. ECF No. 45. On February 15, 2024, Judge Thompson for the Northern

    District of California entered an order staying all proceedings pending transfer to the Zantac MDL.

    Contreras N.D. Cal. ECF No. 48. On April 11, 2024, the JPML issued a final order finding that

    this case properly belongs in the Zantac MDL, JPML No. 2924 ECF No. 1439, and on April 12,

    2024, this case was transferred to the MDL. Contreras N.D. Cal. ECF No. 49. On May 9, 2024,
    Plaintiff filed this Motion to Remand.




                                                       2
Case 9:20-md-02924-RLR Document 7298 Entered on FLSD Docket 05/23/2024 Page 7 of 14



                                            LEGAL STANDARD

            To establish fraudulent joinder, the removing party must prove “that there is no possibility

    that the plaintiff can prove a cause of action against the non-diverse defendant.” Illoominate

    Media, Inc. v. CAIR Fla., Inc., 841 F. App’x 132, 134 (11th Cir. 2020) (internal quotations

    omitted). “[T]he potential for legal liability [against the non-diverse defendant] must be

    reasonable, not merely theoretical.” Jackson v. Bank of Am., NA, 578 F. App’x 856, 859 (11th

    Cir. 2014) (internal quotations omitted). The fraudulent joinder doctrine “bars remand to state

    court and is an exception to the requirement of complete diversity.” De La Flor v. Ritz-Carlton

    Hotel Co., L.L.C, No. 12-cv-23689, 2013 WL 148401, at *2 (S.D. Fla. Jan. 14, 2013) (quotations

    and citation omitted). It operates regardless of a plaintiff’s subjective intent. Poulos v. Naas

    Foods, Inc., 959 F.2d 69, 73 (7th Cir. 1992); see also White v. Minnesota Life Ins. Co., No. 610-

    cv-1661, 2010 WL 11627321, at *2 (M.D. Fla. Dec. 8, 2010) (“‘[F]raudulent joinder’ does not

    imply malintent.”).

                                                 ARGUMENT

    I.      THE COURT SHOULD DISREGARD KAISER’S CITIZENSHIP BECAUSE IT IS
            FRAUDULENTLY JOINED
            If a plaintiff fails to state a cause of action with reasonable potential for legal liability, “the

    court must ignore the presence of the non-diverse party and deny the motion to remand.” Shannon

    v. Albertelli Firm, P.C., 610 F. App’x 866, 870 (11th Cir. 2015).

            In California, it is well-established that a plaintiff asserting a personal injury product

    liability claim must demonstrate that “the defendant’s product, or some instrumentality under the

    defendant’s control, caused his or her injury.” DiCola v. White Bros. Performance Prods., Inc.,

    69 Cal. Rptr. 3d 888, 897 (Ct. App. 2008) (collecting cases); see also Garcia v. Joseph Vince Co.,

    148 Cal. Rptr. 843, 846 (Ct. App. 1978) (“[W]hether negligence, . . . strict liability in tort, or other

    grounds, it is obvious that to hold a producer, manufacturer, or seller liable for injury caused by a
    particular product, there must first be proof that the defendant produced, manufactured, sold, or

    was in some way responsible for the product.” (quoting 51 A.L.R.3d 1334, 1349)); Soule v. Gen.



                                                          3
Case 9:20-md-02924-RLR Document 7298 Entered on FLSD Docket 05/23/2024 Page 8 of 14



    Motors Corp., 882 P.2d 298, 312 (Cal. 1994) (“A manufacturer is liable only when a defect in its

    product was a legal cause of injury.” (citation omitted)); Sanchez v. Stryker Corp., No. 2:10-CV-

    08832 ODW, 2012 WL 1570569, at *6 & n.9 (C.D. Cal. May 2, 2012) (“These five causes of

    action [including negligence, strict liability, and negligent misrepresentation] have one central

    question—whether the specific Stryker device . . . caused Plaintiff’s injury.” (collecting cases));

    Timmons v. Linvatec Corp., 263 F.R.D. 582, 585 (C.D. Cal. 2010) (dismissing negligence, strict

    liability, negligent misrepresentation, and consortium claims against pharmaceutical

    manufacturer with prejudice, in part because it was undisputed that the defendant had not

    manufactured or sold the drug at issue).

              Applying these principles, courts routinely find that a non-diverse defendant in a product

    liability action is fraudulently joined where the defendant did not actually manufacture or sell the

    product that allegedly caused the plaintiff’s injury. See e.g., Gallagher v. Boehringer Ingelheim

    Pharms., Inc., No. 22-CV-10216 (LJL), 2023 WL 402191, at *5-6, 10 (S.D.N.Y. Jan. 25, 2023);

    Ostrowski v. Am. Tire Distributors, Inc., No. 617CV598ORL31KRS, 2017 WL 2115984, at *2

    (M.D. Fla. May 16, 2017); Vieira v. Mentor Worldwide, LLC, 392 F. Supp. 3d 1117, 1127-28

    (C.D. Cal. 2019), aff’d, 845 F. App’x 503 (9th Cir. 2021); Reith v. Teva Pharms. USA, Inc., No.

    CV 18-3987, 2019 WL 1382624, at *3-5 (E.D. Pa. Mar. 27, 2019)).

              Here, there is no possibility of recovery against Kaiser. Plaintiff has served a PPF—signed

    under penalty of perjury and verified as true and correct—listing “each retailer or other place of

    purchase” from whom he purchased OTC Zantac or ranitidine. See ECF No. 7294-3, PPF at 6

    (emphasis added). Plaintiff listed a different retailer, but not Kaiser. Id. at 6-7. Because Plaintiff

    did not purchase Zantac or ranitidine from Kaiser, he cannot prevail on any of his claims against

    Kaiser.

              Plaintiff nevertheless argues that recovery against Kaiser is “surely possible,” because at

    some hypothetical point in the future, he might amend his PPF or testify that he purchased Zantac
    or ranitidine from Kaiser. Mot. to Remand at 4 (emphasis in original). Notably, Plaintiff is not

    claiming that he made an error in completing the PPF and that he, in fact, purchased ranitidine


                                                        4
Case 9:20-md-02924-RLR Document 7298 Entered on FLSD Docket 05/23/2024 Page 9 of 14



    from Kaiser. He has not offered to amend his PPF, nor has he submitted other evidence to rebut

    the arguments in the Notice of Removal.

           In any event, hypothetical facts and claims that Plaintiff might assert in the future cannot

    divest this Court’s subject matter jurisdiction. The Eleventh Circuit has held that “the

    determination of whether a resident defendant has been fraudulently joined must be based upon

    the plaintiff’s pleadings at the time of removal, supplemented by any affidavits and deposition

    transcripts submitted by the parties.” Shannon 610 F. App’x at 870–71. Courts around the county

    hold that even where plaintiffs name fraudulently joined defendants “in the caption and in the

    headings of some causes of action” and argue that the lack of material allegations was merely a

    “typographical error” that could be cured in an amended complaint, remand is inappropriate where

    the “complaint as it existed at the time of removal does not allege any wrongdoing by the”

    fraudulently joined defendants. Brown v. Allstate Ins. Co., 17 F. Supp. 2d 1134, 1137 (S.D. Cal.

    1998); see also Marshall v. Cargill, Inc., No. C 08-02422 WHA, 2008 WL 2543210, at *3 (N.D.

    Cal. June 20, 2008) (declining to consider plaintiff’s proposed new causes of action because “such

    hypothetical claims cannot defeat a showing of fraudulent joinder” in denying motion to remand).

           Plaintiff points to his 2021 “Census Plus Form” (“CPF”), submitted in relation to the

    Zantac MDL before he re-filed his case in California two years later. In his 2021 CPF, Plaintiff

    listed Kaiser as a pharmacy where he purchased Zantac or ranitidine. However, a “single

    statement is insufficient to establish a colorable claim against [Defendant].” Vieira v. Citigroup,

    Inc., No. 1:12-CV-1636-TWT, 2012 WL 6194350, at *2 (N.D. Ga. Dec. 12, 2012). Indeed, in the

    Vieira case, the complaint was “almost completely devoid of substantive allegations against [the

    fraudulently joined Defendant].” Id. Other than listing the defendant on the case caption and as a

    party in the complaint, the complaint in Vieira contained only one factual allegation as to the

    fraudulently joined defendant. Id.




                                                      5
Case 9:20-md-02924-RLR Document 7298 Entered on FLSD Docket 05/23/2024 Page 10 of 14



           Here, Plaintiff’s SFC merely lists Kaiser in the case caption but contains no substantive

    allegations related to Kaiser.1 Ex. 2, SFC at 1, 3 ¶ 8. Likewise, while the PPF Plaintiff served in

    this case after he moved it from the MDL to California required Plaintiff to identify the “[n]ame

    and address of each retailer … of over-the-counter Zantac/ranitidine,” Plaintiff never listed

    Kaiser in his PPF. ECF No. 7294-3, PPF at 6-7. In his Motion to Remand, Plaintiff does not

    contend that he got it right in the CPF and wrong in his PPF. Quite the opposite: the later-served

    document, the 2023 PPF, amends and replaces the 2021 CPF.2 While Plaintiff contends that the

    process of supplementing the PPF is “ongoing,” Plaintiff has made no attempt to amend or

    supplement his PPF, despite having had four months and ample opportunity to do so. Plaintiff has

    also not produced any medical records or purchase records from Kaiser, nor has he provided an

    authorization for Defendants to obtain records from Kaiser.

           The Court, moreover, should reject Plaintiff’s argument that the Removing Defendants

    “short-circuited [the] process” and should have reached out to see if his failure to include Kaiser

    in the PPF was a mistake. Mot. to Remand at 3. Not only is there no precedent for Defendants

    having such a burden, Plaintiff has shown that even had Defendants reached out before removing

    the case, he would be unable to assert any allegations against Kaiser anyway. See Ex. 3, Email

    from N. Heinz on January 16, 2024 at 1. In similar cases removed around the same time, following

    removal, plaintiffs represented by the same counsel as Mr. Contreras produced amended PPFs,

    alleging purchase of Zantac and/or ranitidine from the alleged fraudulently joined defendant. See

    id., Email to N. Heinz on January 14, 2024 at 3. The parties met and conferred about those cases

    and this case. In each of the other cases, after receiving the amended PPFs, Defendants voluntarily


    1
      The SFC incorporates the Master Complaint in the JCCP, but the Master Complaint does not
    name Kaiser or include any allegations involving Kaiser.
    2
      By signing the CPF, Plaintiff “declare[d] under penalty of perjury that the following is true and
    correct to the best of my recollection: I Jorge Contreras ingested Zantac and, to the best of my
    knowledge, information and belief, I was diagnosed with cancer after I first began using Zantac.”
    See ECF No. 7924-1, CPF at 7. Plaintiff did not otherwise swear to the truth or correctness of any
    other facts asserted in the CPF. By contrast, by signing the PPF, Plaintiff “declare[d] under penalty
    of perjury under the laws of California, that I have carefully reviewed the final copy of this Plaintiff
    Profile Form dated below, and verified that all of the information provided is true and correct to
    the best of my knowledge, information, and belief.” ECF No. 7924-3, PPF at 23.

                                                        6
Case 9:20-md-02924-RLR Document 7298 Entered on FLSD Docket 05/23/2024 Page 11 of 14



    agreed to remand. See e.g., Patricia Edgerton v. GlaxoSmithKline Holdings (Americas) Inc. et

    al., No. 3:24-cv-00038-TLT, (N.D. Cal.), ECF No. 37 (“Plaintiffs moved to remand, and the

    removing Defendants have now consented to remand. Accordingly, the Court REMANDS the

    case to state court.”). In contrast, here, Plaintiff has not amended his PPF, even after Defendants

    counsel asked explicitly whether Plaintiff would do so. See Ex. 3, Email from N. Heinz on January

    16, 2024 at 1. Plaintiff’s counsel responded only that they would “not be able to send one” on that

    date for Plaintiff, and it was “not clear at this time when we will be able to serve an updated PPF”

    in this case. Id. Since that time more than four months ago, they never sought an extension of time

    to do so or indicated that an amended PPF would be forthcoming.

           Plaintiff improperly analogizes this case to this Court’s recent Order, ECF No. 7229,

    granting a Motion to Remand in the Wilson case.3 In Wilson, Plaintiff included allegations about

    the retailer defendant, Publix Super Markets, Inc., in his complaint and claimed purchase at Publix

    in his interrogatory responses. Here, neither Plaintiff’s SFC, nor his PPF, contains allegations of

    purchase from Kaiser. Plaintiff has made no attempt to amend his sworn statement. See Ex. 3,

    Email from N. Heinz on January 16, 2024 at 1. He refers only to a reference to Kaiser in his CPF,

    which is neither sworn nor controlling here. The CPF was submitted years in advance of the

    controlling PPF and in an entirely separate litigation. In fact, the CPF was never produced in

    Plaintiff’s California case. For all of these reasons and the reasons stated in the Notice of Removal,

    Kaiser is fraudulently joined and its citizenship should be ignored.

    II.    NO FEES AND COSTS ARE WARRANTED
           The Court should deny Plaintiff’s request for fees and costs. Absent unusual

    circumstances, courts may award attorney's fees under 28 U.S.C. § 1447(c) only where the

    removing party lacked an objectively reasonable basis for seeking removal.” Martin v. Franklin

    Capital Corp., 546 U.S. 132, 141 (2005). As explained above, the Removing Defendants’

    jurisdictional arguments are meritorious and certainly “objectively reasonable.” Id. Indeed, it was


    3
      Contrary to Plaintiff’s assertion, Defendants are not making an argument regarding the
    sufficiency of Plaintiff’s expert testimony.


                                                        7
Case 9:20-md-02924-RLR Document 7298 Entered on FLSD Docket 05/23/2024 Page 12 of 14



    Plaintiff’s own sworn statements that he did not purchase Zantac or ranitidine from Kaiser that

    provided the basis for this removal. And even after removal, Plaintiff never attempted to correct

    that statement or provide any evidence that he actually purchased Zantac or ranitidine from Kaiser,

    confirming that this removal was objectively reasonable. The request for fees and costs should be

    denied.

                                             CONCLUSION

              For the foregoing reasons, the Court should deny Plaintiff’s motion to remand and

    accompanying request for fees and costs.




                                                      8
Case 9:20-md-02924-RLR Document 7298 Entered on FLSD Docket 05/23/2024 Page 13 of 14



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                                          9
Case 9:20-md-02924-RLR Document 7298 Entered on FLSD Docket 05/23/2024 Page 14 of 14




                                    CERTIFICATE OF SERVICE

           The undersigned hereby certifies that on May 23, 2024, the foregoing document was filed

    via the Court’s ECF system, which will cause a true and correct copy of the same to be served

    electronically on all ECF-registered counsel of record.



                                                               /s/ Mark Cheffo
                                                               Mark Cheffo




                                                     10
